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Case 2:05-cr-ZOOSS-UHWTED)STMTESBDISTHIUTJB(OBRWAQe 1 of 2 Page|D 3

 

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WESTERN DISTRICT OF TENNESSEE s§'c ii ____ l 7
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U.S.A. vs. Richard Tee Clark Doc$ _E__:o. . 51 §320033

Petition on Probation and Supervised Release

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COMES NOW Lorin J. Smith, PROBATION OFFICER OF THE COURT presenting an official report upon
the conduct and attitude of Richard Tee Clark, who was placed on supervision by the Honorable Robert June]l,
United States District Judge, sitting in the Court at Pecos, Texas* on the 18th day ofNovember 2003 who fixed

the period of supervision at **one il lyear, and imposed the general terms and conditions theretofore adopted by
the Court and also imposed special conditions and terms as follows:

 

 

 

l. The defendant shall refrain from the use of alcohol and/or all other intoxicants during the term of
supervision
2. The defendant participate in substance abuse treatment and testing as directed by the probation ofticer.

3. Fine in the amount of 315,000.00. (Balance: $15,000.00)

*Transfer of jurisdiction from the Western District of Texas the Western District of Tennessee accepted
February 14, 2005.

**Supervised Release began June 28, 2004.

RESPECTFULLY PRESENT]NG PE'I`ITION FOR AC'I`lON OF COURT FOR CAUSE AS FOLL()WS:
Mr. Clark has not completed payment of the court ordered iine. Since his release from prison he has been employed
installing fences. His income is minimal and this has inhibited his ability to make fine payments Mr. Clark has
signed a payment agreement where he agreed to pay $100.00 towards the fine amount each month.

PRAYING THAT THE COURT WILL ORDER that Mr. Clark’s Supervised Release terminate as scheduled on

June 27, 2005 with the understanding that the United States Attorney’s OHicefFinancial Litigation Unit will pursue
collection of the iine.

ORDER OF COURT
Consid§;ed and ordered this j °‘“"day Respectfu"y, /`/
of J \~W- , 20 331 and ordered filed f ,
and made a part of the records in the above ,// [?ZLLL ,

 

 

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Place: Memt)his. rfennessee

 

United States District Judge
Date: May 23. 2005

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With Flu|e 55 and/or 32(!:)) F'FiCrP on `-)

 
 

    

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20033 Was distributed by faX, mail, or direct printing on
J unc 13, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

